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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    DIAMOND SPORTS GROUP, LLC, et al.,1                           )   Case No. 23-90116 (CML)
                                                                  )
                            Debtors.                              )   (Jointly Administered)
                                                                  )
                                                                  )   Re: Docket No. 1845

                                  NOTICE OF FILING REVISED PLAN

             PLEASE TAKE NOTICE that, on February 29, 2024, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the Debtors’ Joint Chapter 11 Plan of

Reorganization (the “Plan”) [Docket No. 1845].

             PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a revised version

of the Plan.

             PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit B is a redline of the

revised Plan against the prior version of the Plan filed at Docket No. 1845.

             PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to alter, amend,

supplement, or otherwise modify the Plan (including any exhibits or annexes thereto).

                                  [Remainder of page intentionally left blank]




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.ra.kroll.com/DSG. The Debtors’ service address for purposes of these
      chapter 11 cases is: c/o Diamond Sports Group, LLC, 3003 Exposition Blvd., Santa Monica, CA 90404.
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April 16, 2024                                    Respectfully submitted,

                                                  /s/ John F. Higgins
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                                                  - and -

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  Section 327(e) Counsel to the Debtors and       Counsel to the Debtors and Debtors in
  Debtors in Possession                           Possession




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                                      Certificate of Service

        I certify that on April 16, 2024, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                       /s/ John F. Higgins
                                                       John F. Higgins
